         Case 2:20-cr-00045-GAM Document 349 Filed 09/12/22 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                              :               CRIMINAL ACTION
                v.                            :
                                              :               No. 20-45
ABDUR RAHIM ISLAM                             :
(Out of Custody)
SHAHIED DAWAN
(Out of Custody)
KENYATTA JOHNSON
(Out of Custody)
DAWN CHAVOUS
(Out of Custody)
                                     NOTICE OF HEARING

       Take notice that the defendants are scheduled for a motions hearing on September 19,
2022, at 3:00 p.m. before the Honorable Gerald Austin McHugh in Courtroom 9-B of the
United States District Court, 601 Market Street, Philadelphia, PA 19106.

☐ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☒ Bail Status: The defendants are on bail. A Court Security Officer shall be assigned to this
proceeding.

☒ Court Summons: This Notice serves as a summons to appear in court. If the defendants are
on bail or supervision and fail to appear as directed, the presiding judge may issue a bench
warrant.

☐ Interpreter: A            interpreter will be required for the defendant.



For additional information, please contact the undersigned.

By:             Christian J. Henry, Courtroom Deputy to J. McHugh
                Phone: 267.299.7307

Date:           9/12/2022

cc via U.S. Mail:     Defendants: Abdur Rahim Islam, Shahied Dawan, Kenyatta Johnson,
                      Dawn Chavous
cc via email:         Defense Counsel: David Laigaie, Joshua Hill, Peter Goldberger
                      Thomas Fitzpatrick, Patrick Egan, Nathan Huddell, Saverio Romeo,
                      Stephanie Ohnona, Barry Gross, Elizabeth Casey, Henry Grabbe,
                      Andrew Reeve
          Case 2:20-cr-00045-GAM Document 349 Filed 09/12/22 Page 2 of 2




                       Assistant U.S. Attorney: Eric Gibson, Mark Dubnoff

                       U.S. Marshal
                       Court Security
                       Probation Office
                       Pretrial Services
                       Interpreter Coordinator


crnotice (July 2021)
